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                                                      THE HONORABLE JOHN C. COUGHENOUR
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 6
                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   UNITED STATES OF AMERICA,                                CASE NO. CR20-0092-JCC
10                             Plaintiff,                     ACCEPTANCE OF PLEA OF
11          v.                                                GUILTY, ADJUDICATION OF
                                                              GUILT, AND NOTICE OF
12   RUTH MELISA GOMEZ-MARENTES,                              SENTENCING

13                             Defendant.
14

15          This Court, having considered the Amended Report and Recommendation of the United
16   States Magistrate Judge, to which there has been no objection and being informed that none are
17   forthcoming, and subject to the consideration of the Plea Agreement under Federal Rule of
18   Criminal Procedure 11(c)(1)(B), hereby accepts Defendant’s pleas of guilty to Counts 1 and 4 of
19   the Second Superseding Indictment. Defendant is adjudged guilty of such offense. All parties
20   shall appear before this Court for sentencing as directed.
21          It is so ORDERED this 29th day of November 2021.




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                                                          John C. Coughenour
25                                                        UNITED STATES DISTRICT JUDGE
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     ACCEPTANCE OF PLEA OF GUILTY,
     ADJUDICATION OF GUILT, AND NOTICE OF
     SENTENCING
     CR20-0092-JCC
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